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     Proposed Counsel to the Official Committee of Unsecured Creditors
10
                             IN THE UNITED STATES BANKRUPTCY COURT
11
                NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO DIVISION
12

13
                                                             )   No. 18-31087 (HLB)
14   IN RE:                                                  )
                                                             )   CHAPTER 11
15   SEDGWICK LLP                                            )
                                                             )
16                                  Debtor.                  )   NOTICE OF APPEARANCE OF
                                                             )   PROPOSED COUNSEL TO THE
17                                                           )   OFFICIAL COMMITTEE OF
                                                             )
18                                                               UNSECURED CREDITORS
                                                             )
                                                             )
19

20   TO THE DEBTORS, THEIR COUNSEL AND OTHER INTERESTED PARTIES:
21          PLEASE TAKE NOTICE that, pursuant to 11 U.S.C. § 1109(b) and Rule 9010(b) of the
22   Federal Rules of Bankruptcy Procedure, the law firm of Pillsbury Winthrop Shaw Pittman LLP
23   (“Pillsbury”) appears in the above-captioned Chapter 11 case (“Case”) as proposed counsel on
24   behalf of the Official Committee of Unsecured Creditors (“Committee”) and, pursuant to 11 U.S.C.
25   §§ 102(1) and 342, and Rules 2002 and 9007, and hereby requests that it be placed on any and all
26   mailing lists established in this Case, and that copies of all notices and pleadings given or filed in
27   this Case be given and served on the following:
28

                                               NOA_COMMITTEE
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                                                 Case No. 18-31087                              4849-1511-2569.v2
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10          william.hotze@pillsburylaw.com
11

12          PLEASE TAKE FURTHER NOTICE that, pursuant to Section 1109(b) of the Bankruptcy

13   Code, the foregoing request includes not only the notices and papers referred to in the provisions of

14   the Bankruptcy Code and Bankruptcy Rules specified above, but also includes, without limitation,

15   orders and notices of any application, motion, petition, pleading, request, complaint or demand,

16   whether formal or informal, whether written or oral, and whether transmitted or conveyed by mail,

17   delivery, telephone, electronically or otherwise, which affects or pertains to the Debtor, the property

18   of the Debtor or its chapter 11 estate.

19
       Dated: October 22, 2018                               PILLSBURY WINTHROP SHAW
20                                                           PITTMAN LLP

21
                                                            /s/ Cecily A. Dumas
22
                                                        By: CECILY A. DUMAS
23
                                                             Proposed Counsel to the Official Committee
24                                                           of Unsecured Creditors

25

26

27

28
                                                        2
                                                 NOA_COMMITTEE
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